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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA, et al.,

                                Plaintiffs,
                                                    Case No. 1:20-cv-03010-APM
 v.
                                                    HON. AMIT P. MEHTA
 GOOGLE LLC,

                   Defendant.


                 PLAINTIFFS’ POSITION STATEMENT REGARDING
                THE ADMISSIBILITY OF UPX0038 FOR ALL PURPOSES

       Per the Court’s request, Plaintiffs submit the following position statement in support of

admitting UPX0038 for all purposes pursuant to Federal Rules of Evidence 801(d)(2). The

United States respectfully submits that UPX0038 was authored by the relevant witness and

relates to topics within the scope of his employment. As a result, there is no evidentiary basis to

limit Plaintiffs’ use of UPX0038 in any way.

I.     Admissibility Under Fed. R. Evid. 801(d)(2)

       Federal Rule of Evidence 801(d)(2)(D) makes clear that a statement is not hearsay when

it “is offered against an opposing party” and “was made by the party’s agent or employee on a

matter within the scope of that relationship and while it existed.”

       The 1972 Advisory Committee’s Notes to Rule 801(d)(2) explain that a statement

satisfies this requirement so long as the statement is “related to a matter within the scope of the

agency or employment” relationship between the employee and their employer. Fed. R. Evid.

801(d)(2)(D) advisory committee’s note to 1972 amendment (rejecting requirement that a

statement be made while an agent is “acting in the scope of his employment” “[s]ince few

principals employ agents for the purpose of making damaging statements”); see also United
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States v. Am. Tel. & Tel. Co., No. 74-1698, 1981 WL 2047, at *3 (D.D.C. Apr. 9, 1981) (“a

statement will be regarded as having been made within the scope of an agent’s employment, if it

pertained to his assigned responsibilities or activities”).

          Moreover, Rule 801(d)(2)(D)—which renders employee statements admissible—applies

to all employees. See Geleta v. Gray, 645 F.3d 408, 415 (D.C. Cir. 2011); 30B Charles Alan

Wright & Arthur R. Miller, Federal Practice and Procedure § 6776 (Apr. 2023 update)

[hereinafter, Wright & Miller]. And an employee’s statement is admissible under Rule

801(d)(2)(D) even if the employer has not “adopted or ratified” the statement and even if the

statement was not “final.” English v. District of Columbia, 651 F.3d 1, 7 (D.C. Cir. 2011).

          Ultimately, Rule 801(d)(2)(D) is “unabashedly” broad, admitting all statements that

“simply touch on matters that fall within the employee or agent’s general duties and

responsibilities.” Wright & Miller, supra, § 6776; 5 Jack B. Weinstein & Margaret A.

Berger, Weinstein’s Federal Evidence § 801.33 (2d ed. 2023) (“Simply put, to qualify as

nonhearsay under Rule 801(d)(2)(D), the statement need only be related to the declarant’s

duties.”). For example, in Aliotta v. National Railroad Passenger Corp., the Court viewed the

witness’s statements about the cause of an accident as related to the scope of employment—and,

thus, admissions—because they reflected the witness’s “knowledge and experience gathered and

utilized on his job.” 315 F.3d 756, 763 (7th Cir. 2003).

II.       UPX0038 Is Admissible For All Purposes

          UPX0038 easily meets this lenient admissibility standard, and Plaintiffs should be

afforded the opportunity to present this document at trial for all purposes.1 Michael Roszak—




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      Plaintiffs respectfully submit that UPX0038 should be presented during a public session at
      trial, as it does not contain confidential information that would require sealing of the


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who only had one manager between himself and Alphabet’s Chief Financial Officer—authored

UPX0038 while employed by Google as a Director of Finance. Mr. Roszak was also designated

by Google as a 30(b)(6) witness on topics related to alternative default search access points. (Jan.

11, 2022 Dep. of M. Roszak at 12).

       Notably, UPX0038 concerns the financial health of Google’s search business—an issue

which goes to the heart of Mr. Roszak’s general duties and responsibilities while at the company.

Aliotta, 315 F.3d at 762 (“The only requirement is that the subject matter of the admission match

the subject matter of the employee’s job description.”). UPX0038 contains information related to

Mr. Roszak’s business responsibilities at Google, as well as his designated 30(b)(6) testimony,

including: (1) search advertising; (2) revenue expectations, targets, and incentives; (3) default

search access points; and (4) past and future revenue models for Google. Mr. Roszak wrote

UPX0038 as part of an internal Google training on presentation skills, on his company provided

devices, and presented it to Google employees.

       Because the contents of UPX0038 concern a matter within the scope of Mr. Roszak’s

employment, the document should be admitted under Fed. R. Evid. 801(d)(2)(D).

                                         CONCLUSION

       For the reasons demonstrated above, the United States respectfully requests that the Court

admit UPX0038 into evidence for all purposes.




   courtroom. If the Court disagrees, however, Plaintiffs seek to present UPX0038 during a
   closed session.


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Dated: September 20, 2023                Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

       I hereby certify that on September 20, 2023, I caused the foregoing document to be filed

with the Clerk of Court using the Court’s Electronic Document Filing System, which served

copies on all counsel of record.

                                            /s/ Veronica N. Onyema
                                            Veronica N. Onyema

                                            Counsel for Plaintiff United States of America
